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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                       )
 CALIFORNIA COMMUNITIES
                                       )
 AGAINST TOXICS, CLEAN POWER
                                       )
 LAKE COUNTY, COMITÉ
                                       )
 DIÁLOGO AMBIENTAL, RIO
                                       )
 GRANDE INTERNATIONAL
                                       )
 STUDY CENTER, SIERRA CLUB,
                                       )
 and UNION OF CONCERNED
                                       )
 SCIENTISTS,
                                       )
                                       )        No. 24-1178
       Petitioners,
                                       )        (Consolidated with 24-1180)
                                       )
       v.
                                       )
                                       )
 U.S. ENVIRONMENTAL
                                       )
 PROTECTION AGENCY and
                                       )
 MICHAEL S. REGAN, Administrator,
                                       )
 U.S. Environmental Protection Agency,
                                       )
                                       )
       Respondents.
                                       )

 PETITIONERS’ STATEMENT CONCERNING DEFERRED APPENDIX

      As directed by this Court’s June 4, 2024 order, Petitioners California

Communities Against Toxics, Clean Power Lake County, Comité Diálogo

Ambiental, Rio Grande International Study Center, Sierra Club, and Union of

Concerned Scientists have conferred with Respondent U.S. Environmental

Protection Agency and Petitioner in 24-1180, Ethylene Oxide Sterilization

Association, and the parties have agreed to using a deferred joint appendix, in
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accordance with Federal Rule of Appellate Procedure 30(c).



Dated: July 3, 2024                        Respectfully submitted,

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                                           Against Toxics, Clean Power Lake
                                           County, Comité Diálogo Ambiental,
                                           Rio Grande International Study Center,
                                           Sierra Club, and Union of Concerned
                                           Scientists




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